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 7
 8                        UNITED STATES DISTRICT COURT
 9                       CENTRAL DISTRICT OF CALIFORNIA
10
11   LEAH HAWKINS,                        )   CASE NO. CVI6-07818JAK(AFMx)
                                          )   Honorable John A. Kronstadt
12
                       Plaintiff,         )
13                                        )   DEFENDANTS' NOTICE OF MOTION
        v.                                )   AND MOTION IN LIMINE NO.2:
14                                            TO EXCLUDE EVIDENCE OF OTHER
                                          )
                                              LAWSUITS, POLICE PERSONNEL
15                                        )   HISTORY, POLICE RELATED
16   DETECTIVE CHARLES                    )   SCANDALS AND OTHER
     HICKS, and DETECTIVE                 )   COMPLAINTS OR BAD ACTS
17   GERARDO VElAR; DOES 1                )
18   through 30 inclusive,                )   [Filed with Defendants' Proposed Order Re:
                                          )   Motion in Limine No.2]
19                     Defendants.        )
                                              Final Pretrial Conference and
20 1 - - - - - - - - - - - )
                                              Hearing on Motions in Limine
21                                            Date: February 26, 2018, at 3:00 p.m.
22                                            Trial Date: March 13,2018, at 9:00 a.m.
23                                            Courtroom: 10-B

24   TO THE CLERK OF THE ABOVE-ENTITLED COURT:
25           Please take notice that on February 26, 2018, at 3:00 p.m., in Courtroom
26   10-B, 10th Floor, at the 1st Street Courthouse, Defendants CHARLES HICKS
27   and GERARDO VEJAR will appear before this Honorable Court to move this
28   court in limine to exclude evidence of other lawsuits, police officer personnel
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 1   history, complaints against any police officers, any bad acts or "scandals"
 2   involving police officers and agencies, including but not limited to the Rampart
 3   scandal, the Rodney King incident, the May Day incident, the "Consent Decree,"
 4   and any national incident involving alleged police misconduct.
 5         This motion is made on the following grounds:
 6   1.    Evidence of such unrelated incidents constitutes impermissible character
 7   evidence; and
 8   2.    Unrelated incidents are not relevant to whether defendant' conduct was
 9   lawful, and will be unduly prejudicial, cause confusion to the jury and will
10   consume unnecessary time.
11         This motion is based on this Notice, the attached Memorandum of Points
12   and Authorities, the [proposed] order, the complete files and records of this
13   action, and such further oral and/or documentary evidence as may be presented at
14   the time of the hearing.
15         This motion is made following the conference of counsel on February 2
16   2018, pursuant to Local Rule 7-3.
17   Dated: February 12,2018
18
                                Respectfully submitted,
19
20                              MICHAEL N. FEUER, City Attorney
                                THOMAS H. PETERS, Chief Assistant City Attorney
21                              CORY M. BRENTE, Supervising Assist. CIty Attorney
22
                                By:   /S/E~ 7. ?~
23                                    ELIZABETH T. FITZGERALD.
                                      Deputy City Attorney
24
                                Attorneys for Defendants CHARLES HICKS and
25                              GERARDO VEJAR
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 1                  MEMORANDUM OF POINTS AND AUTHORITIES
 2   I.    INTRODUCTION
 3         Defendants anticipate that Plaintiff may make mention at trial of unrelated
 4   lawsuits, personnel actions and complaints against Hicks and Vejar or other
 5   LAPD officers, as well as prior bad acts and "scandal" involving LAPD and its
 6   officers and other police agencies and officers to prejudice the defense.
 7   Defendants also believe Plaintiff intends to question defendants about their
 8   personnel and complaint history. None of this information is relevant to whether
 9   defendants acted reasonably and constitutionally. Further, such evidence would
10   amount to impermissible character evidence, and evidence which is unduly
11   prejudicial, confusing, time consuming, and irrelevant.
12   II.   FACTUAL BACKGROUND
13          On January 18, 2013, a dead body was found inside the trunk of an
14   abandoned car. Los Angeles Police Department Detectives Charles Hicks and
15   Gerardo Vejar were assigned to investigate the gruesome murder, which involved
16   multiple gashes to the head from apparent infliction of torture and partial burning
17   of the body.
18         The detectives identified the victim as Dion Shiver and went to the
19   apartment where he lived. They found no evidence of foul play but did find
20   evidence that Shiver was dealing marijuana and that his supply of marijuana had
21   been stolen. Shiver's cell phone records showed that on the night he was murdered,
22   the last person he called was Leah Hawkins. The detectives learned that Shiver
23   had recently met Hawkins at a club where she worked as a dancer, and that he had
24   introduced Hawkins to a few of his friends, and that two may have been
25   romantically involved. Both Hawkins' cell phone and the cell phone of David
26   Batts "pinged" to cell towers near the location where Leah Hawkins lived on the
27   night of Shivers' murder.
28   III

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 1         The detectives went to Hawkins' apartment complex at 1304 W. 2nd Street.
 2   There they observed a blood spot on the garage floor. They collected the blood,
 3   photographed it and booked it into evidence.
 4         They then obtained a search warrant for Hawkins' apartment. On May 29,
 5   2013, the search warrant was served. Detectives found letters written from prison
 6   by a person named David Batts (Hawkins' boyfriend) when they searched her
 7   apartment. They also found some ammunition and a fake Rolex watch and Hermes
 8   and YSL belt buckles. Shivers' relatives identified the Rolex watch and belt
 9   buckles as belonging to Shivers and detectives determined that these items were
10   missing from Shivers' apartment.
11         Hawkins was arrested the day the detectives served the warrant. She was
12   transported to the station and booked. She refused to talk, demanded an attorney
13   and was released.
14         The blood from the garage floor of Hawkins' apartment building was
15   analyzed, revealing that the blood was that of Dion Shivers. LAPD's Scientific
16   Investigation Division ("SID") went to the location where the blood had been
17   collected, and   observed that blood still remained on the floor -- nine months
18   later. SID photographed the stains.
19         Detectives presented the case to the District Attorney's office. The Distric
20   Attorney then filed the criminal complaint and arrest warrants issued for both Batt
21   and Hawkins on December 9, 2013. Batts was arrested and denied ever being a
22   Hawkins' residence on the day Shivers was killed despite his cell phone havin
23   been pinged there. Hawkins was arrested on December 12, 2013.
24         Plaintiff was held to answer on June 12, 2014. The prosecutor's theory 0
25   the case was that Hawkins and Batts committed a robbery, that Batts torture
26   Shivers, possibly out of jealousy over Hawkins, and that Batts murdered Shivers.
27   Plaintiff remained in custody 688 days. A jury trial took place and on October 29,
28   2015, Hawkins and Batts were acquitted.

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 1 llI.    EVIDENCE OF UNRELATED POLICE LAWSUITS, OFFICER
 2         PERSONNEL HISTORY, COMPLAINTS AND "SCANDALS"
 3         SHOULD BE EXCLUDED UNDER FEDERAL RULE OF
 4         EVIDENCE 404
 5         Under 404(b) of the Federal Rules of Evidence, other lawsuits against
 6   police officers and agencies, police officer personnel history, complaints against
 7   any police officers, and any bad acts or "scandals" involving police officers and
 8   agencies cannot be used to prove "conduct in conformity with character," intent,
 9   or a common pattern in this case.
10                Rule 404(b) provides:
11                "[e]vidence of other crimes, wrongs, or acts is not
12                admissible to prove the character of a person in order to
13                show action and conformity therewith. It may, however,
14                be admissible for other purposes, such as proof of motive,
15                opportunity, intent, preparation, plan knowledge, identity,
16                or absences of mistake or accident ..."
17         The Ninth Circuit has held that evidence of prior acts of a defendant police
18   officer in a civil rights action is inadmissible. Gates v. Rivera, 993 F.2d 697, 700
19   (9 th Cir. 1993). In Gates, the defendant police officer, Rivera, was allowed to
20   testify that in his 16 ~ years as a police officer, he had not shot anyone and that he
21   had never before discharged his weapon. Jd. at 700. The Appellate Court noted
22   that such evidence was not admissible in a civil rights action under Federal Rules
23   of Evidence 404 because it was irrelevant since intent was not an issue in a case
24   alleging excessive force. Id. Rather the question to be resolved is whether
25   objectively, the officer's use of force is reasonable. Id.
26   III
27   III
28   III
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 1          Other circuits are in accord. In Morgan v. City Marmaduke, Ark. The 8th
 2   Circuit Court concluded:
 3                 "In any event, issues of motive and intent are especially
 4                 Irrelevant in [excessive force cases]. A test "in an excessive
 5                 force case is an objective one." [citation omitted]. Thus, "an
 6                 officer's evil intentions will make a 4 th Amendment violation
 7                 out of an objectively reasonable use of force; nor will an
 8                 officer's good intentions make an objectively unreasonable use
 9                 of force constitutional."
10         Morgan v. City Marmaduke, Ark., 958 F.2d 207,212 (8 th Cir. 1992), citing
11   Graham v. Connor, 490 U.S. 386,397, 109 Sup. Ct. 1865, 104 L.E.2d 443 (1989).
12   Further in Berkovich v. Hicks, 922 F.2d 1018 (2nd. Cir. 1991), the Second Circuit
13   affirmed the trial court's decision to exclude evidence of prior complaints against
14   a police officer.
15         The court held the Plaintiffs' attempt to introduce evidence of prior
16   complaints "amounts to no more than a veiled attempt to do what Rule 404(b)
17   expressly prohibits - introducing evidence of bad acts to show the defendants'
18   propensity to commit such acts." Id at 1022. See also, Hopson v. Frederickson,
19   961 F.2d 1374, 1379 (8 th Cir 1992) (evidence of prior internal police
20   investigations not admissible at trial).
21         Thus, any attempt to introduce evidence of lawsuits, personnel complaints,
22   other incidents of alleged misconduct or reference to police "scandals" for the
23   purpose of establishing "conduct in conformity with character" must be precluded
24   by this Court.
25   III
26   III
27   III
28   III
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 1         This type of evidence is irrelevant and clearly prohibited by Rule 404(b).
 2   IV.   OTHER INSTANCES OF ALLEGED MISCONDUCT IS NOT
 3         "HABIT" EVIDENCE
 4         Finally, Plaintiffs may also argue that prior acts of individual officers are
 5   relevant to show habit under Federal Rule of Evidence 406. Rule 406 provides:
 6                "[e]vidence of the habit of a person or the routine practice
 7                of an organization, whether corroborated or not and
 8                regardless of the presence of eyewitnesses is relevant to
 9                prove that the conduct of the person or organization on a
10                particular occasion was in conformity with the habit or
11                routine practice."
12         In the Advisory Committee's notes pertaining to Rule 406, commentators
13   discuss "habit" as follows:
14                " ... Rule [406] is consistent with prevailing views. Much
15                evidence is excluded simply because of failure to achieve the
16                status of habit. Thus, evidence of intemperate "habits" is
17                generally excluded when offered as proof of drunkenness in
18                accident cases, annote. 46 A.L.R.2d 103 and evidence ofother
19                assaults is inadmissible to prove the instant one in a civil
20                assault action, annote., 66 A.L.R.2d 806." (Emphasis added).
21         In the present case, there is no evidence that Officer Douglas Johnson
22   always acted according to the allegations in Plaintiffs Complaint. Moreover, any
23   unrelated personnel complaints, LAPD "scandals", lawsuits, arrests or any other
24   incidents of alleged misconduct against any officer simply would not meet the
25   "invariable regularity requirements" in Evidence Rule 406 to establish habit.
26   Such conduct would more properly be characterized as "volitional" rather than
27   "habitual" and therefore would not fall within the ambit of Rule 406.
28   Accordingly, reference to such conduct must be excluded from this trial.
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 1 V.      EVIDENCE OF OTHER BAD ACTS SHOULD BE EXCLUDED
 2         UNDER FEDERAL RULE OF EVIDENCE 403
 3         The introduction of bad acts and/or misconduct regarding any officers will
 4   result in an inefficient use of this Court's time. Allowing this type of irrelevant
 5   infonnation before the jury will only create mini-trials within a trial, that will
 6   greatly prejudice defendants, confuse the jury, waste Court resources, and prolong
 7   the trial needlessly. Therefore, such evidence should be excluded under Federal
 8   Rule of Evidence 403.
 9   VI.   CONCLUSION
10         For the foregoing reasons, defendants respectfully request that this Court
11   preclude Plaintiff from introducing any evidence or making any reference to other
12   lawsuits against police officers and agencies, police officer personnel history,
13   complaints against any police officers, and any bad acts or "scandals" involving
14   police officers and agencies including but not limited to the Rampart scandal, the
15   Rodney King incident, the May Day incident, the "Consent Decree," any national
16   case involving alleged misconduct by police.
17   Dated: February 12, 2018
18                              Respectfully submitted,
19                              MICHAEL N. FEUER, City Attorney
                                THOMAS H. PETERS, Chief Assistant City Attorney
20                              CORY M. BRENTE, Supervising Assist. City Attorney
21                              By:    /S/&tt,Jed 7. ?~
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23
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24                              GERARDO VEJAR
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